Case 3:16-cv-00655-TSL-RHW Document 242 Filed 09/14/18 Page 1 of 3

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF MISSISSIPPI
NORTHERN DIVISION
DERRICK FRANKLIN PLAINTIFF
V. CIVIL ACTION NO.: 3:16CV655TSL-RHW

ZEWDIE DUGDA
AND SKYMILE LOGISTICS DEFENDANTS

SPECIAL VERDICT FORM
1. Do you find from a preponderance of the evidence that the
defendant, Zewdie Dugda, was negligent and that such negligence

was a proximate contributing cause of Derrick Franklin’s damages?
Pp

L-- Yes

No

If your answer to Question No. 1 is "yes," proceed to Question 2.
If your Question 1 is “No”, then your verdict will be for the
defendants, Zewdie Dugda and Skymile Logistics, and your

deliberations are complete.

2. Please state the percentage of negligence for the defendant
Zewdie Dugda, as compared to all of the negligence which caused

damages to plaintiff.

_ {OOF percent.

Proceed to Question No. 3.
Case 3:16-cv-00655-TSL-RHW Document 242 Filed 09/14/18 Page 2 of 3

3. Do you find from a preponderance of the evidence that the
plaintiff, Derrick Franklin, was negligent and that such

negligence proximately caused or contributed to his own injuries?

Yes
~ No
If your answer to Question No. 3 is “yes,” proceed to Question

No. 4. I£ your answer to Question No. 3 is “no,” proceed to

Question No. 5.

4. Please state the percentage of negligence for plaintiff
Derrick Franklin, as compared to all of the negligence which
caused him damages.

percent.
Proceed to Question No. 5.
9. Do you find from a preponderance of the evidence that Billy
Larry Robinson was negligent and that such negligence was a
proximate contributing cause of plaintiff Derrick Franklin’s
damages?

Yes
eT to
If the answer to Question No. 5 is “Yes,” proceed to Question No.

6. If your answer to Question No. 5 is “No,” proceed to Question

No. 7.
Case 3:16-cv-00655-TSL-RHW Document 242 Filed 09/14/18 Page 3 of 3

6. Please state the percentage of negligence of Billy Larry
Robinson, as compared to all of the negligence which caused Mr.
Franklin's damages.

percent.

Proceed to Question No. 7.

(Added together the percentages for Questions No. 2, 4 and 6 must

total 100%.)
7. What is the total amount of damages you have concluded were

incurred by the plaintiff, Derrick Franklin, as a result of the

accident in question?

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THIS the [3% day of September, 2018.
